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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                                    District
                                             __________      of Kansas
                                                         District of __________


                 United States of America,                     )
                             Plaintiff                         )
                                v.                             )      Case No.     21-40029-TC
                      Wyatt Travnichek,                        )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Wyatt Travnichek                                                                                             .


Date:          04/01/2021                                                                 s/David Magariel
                                                                                         Attorney’s signature


                                                                                      David Magariel, #21748
                                                                                     Printed name and bar number



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